     Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 1 of 10 PageID #:792




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,

                    Plaintiff,                       Case No. 21-cv-06546

        v.                                           Hon. John Robert Blakey

 VINTAGE BRAND, LLC,

                    Defendant.


                       JOINT UPDATED INITIAL STATUS REPORT

       Plaintiff The Board of Trustees of the University of Illinois (“Plaintiff,” “Illinois,” “the

University,” or “the University of Illinois”), by and through its attorneys, and Defendants Vintage

Brand, LLC (“Vintage) and Sportswear Inc. d/b/a Prep Sportswear (“Sportswear”) (Vintage and

Sportswear are hereinafter referred to collectively as “Defendants”), by and through their

attorneys, pursuant to this Court’s standing order and minute entry of March 4, 2022 (Dkt. No.

32), hereby present their updated joint status report as follows:

1.     Type of Initial Status Report (i.e., Joint or Individual).

       This is a joint status report.

2.     Service of Process.
       Vintage has been served and filed its answer on April 15, 2022 (Dkt. No. 46).

       On October 21, 2022, the University, having obtained written consent of Vintage, filed its

Third Amended Complaint, which added Sportswear as a defendant. Sportswear has been served

with the Third Amended Complaint and Defendants’ responsive pleadings are due by stipulation

of the parties on November 15, 2022.




                                                 1
     Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 2 of 10 PageID #:793




3.     The Nature of the Case.

       a.     Plaintiff’s counsel:

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                                              2
    Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 3 of 10 PageID #:794




            b.     Basis for Federal Jurisdiction.
            This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1338, 2201 and 2202, 15

U.S.C. §1121, and Fed. R. Civ. P. 13. The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. § 1367(a) and Fed. R. Civ. P. 13 because those claims are so related to the

University’s claims that they form part of the same case or controversy and derive from a common nucleus

of facts.

            c.     Nature of the Claims.
            The University of Illinois has brought claims against Defendants alleging past and on-

going infringement of the University’s federally registered trademarks, trademark counterfeiting,

and false designation of origin, all in violation of the Lanham Act. The University has also brought

claims for violations of Illinois’ Uniform Deceptive Trade Practices Act (“UDTPA”), and

common-law unfair competition under Illinois law. The University has brought an additional claim

against Sportswear for contributory infringement in violation of the Lanham Act. The University’s

claims are based on Defendants’ manufacture, sale, offers for sale, and distribution of clothing and

memorabilia displaying the University’s trademarks, and Defendants’ acts to associate its goods

with the University of Illinois. The University alleges that Defendants not only use the University

of Illinois’ trademarks and trade dress on their products, but that Defendants do so in direct

competition with the University and its licensees’ products, and that Defendants’ products are not

licensed or otherwise authorized by the University.

            Defendants deny all claims asserted in this action, and disagree with the University’s

characterization of Defendants’ business models. Defendants dispute that the University owns

trademark or trade dress rights in the alleged marks asserted, and notes the University has failed

to define the alleged marks at issue with the requisite particularity. Defendants assert defenses that:

(1) the University’s claims are precluded by the doctrines of utilitarian and aesthetic functionality;



                                                     3
    Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 4 of 10 PageID #:795




(2) the University’s claims are precluded by the equitable doctrine of unclean hands; (3) the

University’s claims are precluded where both the University’s and Defendants’ application of the

alleged marks to merchandise is merely ornamental and does not engender the commercial

impression of a source-identifying trademark; (4) the University’s claims are precluded to the

extent they extend to Defendants’ display and printing of descriptive terms used in good faith to

describe the goods of Defendants; (5) the University’s claims are precluded to the extent they rely

on alleged marks that have been abandoned; and (6) the University’s claims are precluded by the

First Amendment.

       Vintage has filed (and Sportswear will file) counterclaims against the University for at least

the following: (1) fraudulent procurement and/or renewal of registrations; (2) abandonment of

alleged marks; and (3) the University failing to use its alleged marks as trademarks and instead

using them in a merely ornamental manner.

       d.      Legal and Factual Issues Anticipated.
       The parties do not necessarily agree on what the major legal and factual issue in the case

will be. However, the parties anticipate the major issues in the case may include, but not be limited

to, the following:

       1.    Whether the University holds valid, existing, and enforceable trademarks covering

             the trademarks at issue in this litigation.

       2.    What “trademarks” are actually at issue in this litigation, and whether those purported

             marks are valid or otherwise subject to cancellation.

       3.    Whether Defendants use in interstate commerce marks that are identical with,

             substantially indistinguishable from, and/or substantially similar to the University’s

             trademarks and trade dress at issue.




                                                  4
Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 5 of 10 PageID #:796




  4.    Whether Defendants’ conduct was licensed or otherwise authorized by the

        University.

  5.    Whether Defendants required any license or other authorization from the University.

  6.    Whether Defendants’ acts have caused, or are likely to cause, confusion, mistake, or

        deception regarding the source or origin of Defendants’ products.

  7.    Whether Defendants’ conduct was knowing, willful, and/or intentional.

  8.    Whether Defendants’ conduct has caused, or will continue to cause, irreparable harm

        to the University.

  9.    Whether Defendants’ conduct has caused damage to the University and, if so, the

        measure of any actual damage suffered by the University.

  10.   Whether Defendants’ conduct creates a false association between the products at

        issue in this litigation and the University trademarks.

  11.   Whether Defendants’ conduct leads consumers to believe that the products at issue

        in this litigation are sponsored by, associated with, authorized by, or otherwise

        affiliated with the University.

  12.   Whether the University fraudulently procured registrations or renewals for its alleged

        marks.

  13.   Whether the doctrine of unclean hands arising from the University’s fraudulent

        procurement precludes its assertion of rights.

  14.   Whether the University has abandoned any of the purported marks or trade dress at

        issue.

  15.   Whether the University’s use of any purported marks is ornamental only, and not use

        as a “trademark.”




                                            5
    Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 6 of 10 PageID #:797




       16.   Whether the United States Supreme Court’s ruling in Dastar Corp. v. Twentieth

             Century Fox Film Corp., 539 U.S. 23 (2003), precludes the University’s claims

             regarding its “trademark rights.”

       17.   Whether the doctrines of utilitarian and aesthetic functionality preclude the

             University’s claims.

       18.   Whether the First Amendment protects Defendants’ merchandise because it consists

             of expressive works.

       19.   Whether the University’s application of its alleged marks to merchandise is merely

             ornamental and does not engender the commercial impression of a source-identifying

             trademark.

       e.      Damages and Relief.

       The University of Illinois alleges that as a result of Defendants’ conduct, the University is

entitled to declaratory, injunctive, and monetary relief. The University seek damages and relief

including, at least, the following: (a) declaratory judgments in the University’s favor finding that

that Defendants have (i) infringed the University’s trademark rights, (ii) counterfeited the

University’s marks, and (iii) created a false association with the University; (b) preliminary and

permanent injunctions enjoining and restraining Defendants from (i) further infringing the

University’s mark, (ii) using confusingly similar designs, and/or (iii) making statements in

promotional materials or advertisement indicating association or affiliation with the University;

(c) judgment requiring Defendants to deliver to the University all infringing products; (d) judgment

awarding damages in amounts to be determined at trial including actual damages and/or

disgorgement of Defendants’ ill-gotten gains; (e) judgment awarding the University all available

statutory damages; and (f) judgment awarding the University its attorneys’ fees and costs along

with pre- and post-judgment interest.


                                                 6
     Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 7 of 10 PageID #:798




        Defendants deny that the University is entitled to any relief sought. Defendants seeks the

following relief from the Court: (1) dismissal of all claims in the Complaint with prejudice; (2)

exercise of authority under the Lanham Act, 15 U.S.C. § 1119, to order the Commissioner of the

United States Patent and Trademark Office to cancel the federal trademark registrations pleaded

by the University; (3) award Defendants their costs and fees incurred in this lawsuit pursuant to

Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a) and/or 765 ILCS 1036/45.

4.     Pending Motions and Case Plan.

       Pending Motions.

       The University filed its Motion to Strike Certain Affirmative Defenses (Dkt. No. 47)

on May 6, 2022. The motion was fully briefed and pending at the time the University filed its Third

Amended Complaint. The parties anticipate that Vintage’s Affirmative Defenses, due November

15, 2022, will moot the pending motion.

       a.      Proposal for Discovery and a Case Management Plan.
               (1) General type of discovery needed.
       Discovery is ongoing and the Parties do not anticipate any departure from the discovery

plan set forth in the Initial Status Report (Dkt. 19) other than with respect to the timing of the close

of discovery, as discussed below

               (2) A date for Rule 26(a)(1) disclosures.
       The University and Vintage Brand exchanged initial disclosure on April 1, 2022. The

parties agree that Sportswear will provide its initial disclosures by December 1, 2022.

               (3) A date to issue written discovery.

       The University and Vintage Brand have exchanged written discovery requests. Discovery

is ongoing.




                                                   7
    Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 8 of 10 PageID #:799




               (4) Confidentiality order.
       The Court entered an Agreed Confidentiality Order regarding the handling of confidential

and potentially highly confidential information on June 13, 2022 (Dkt. No. 54).

               (5) Health Insurance Portability and Accountability Act (HIPAA) waivers.
       None.
               (6) Fact discovery completion date.
       Discovery is currently scheduled to close on November 30, 2022. However, in light of the

October 21, 2022 filing of the Third Amended Complaint, which added Sportswear as a defendant,

the Parties submit that an extension of the discovery period will be necessary.

       Given the addition of Sportswear as a party as well as expected witness and counsel

unavailability during the holiday season, the parties request a two-month enlargement of the

discovery period until January 31, 2023

               (7) Expert discovery completion date (include proposed deadlines for expert
                   disclosures and depositions).

       The parties confirm that expert discovery will be required and submit the following

expert discovery schedule that will proceed after the close of fact discovery:

                -   Deadline for expert reports on issues where a party bears the burden of proof:

                    45 days after close of fact discovery

                -   Deadline for responsive expert reports and for responding parties to depose

                    initially disclosed experts:

                    45 days after the deadline for initial expert reports

                -   Deadline for expert reply reports and for parties to depose responsive

                    experts:

                    30 days after the deadline for responsive expert reports.

               (8) Filing of dispositive motions.


                                                   8
    Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 9 of 10 PageID #:800




        The parties confirm that one or more parties intend to file dispositive motions, which shall

be due 45 days after the deadline for reply expert reports.

                (9) Tentative trial date.
        The parties agree that, particularly in light of their disputes regarding other timing of

discovery discussed above, it is difficult to provide a reasonably certain date for trial of this matter

at this stage of litigation. In light of that uncertainty, the parties state that they can be trial ready

45 days after the Court issues any ruling on dispositive motions filed by either party. Should there

be no dispositive motions filed, the parties can be trial ready 45 days after the close of expert

discovery.

        c.      Request for Jury trial and probable length of trial.
        The University has demanded a trial by jury. Although it is difficult to estimate the length

of a trial at this early stage, the parties believe the case could be tried in approximately between

one and two weeks.

    5. Consent to Proceed Before a Magistrate Judge.

        The parties have discussed the potential advantages of a Magistrate Judge referral and have

not unanimously consented to proceed before a Magistrate Judge.

    6. Status of Settlement Discussions.

        a. Status of settlement discussions.

        The parties have not had any substantive settlement discussions.

        b. Whether the parties request a settlement conference.

        The parties do not believe that a settlement conference would be fruitful at this stage in the

litigation.




                                                   9
 Case: 1:21-cv-06546 Document #: 67 Filed: 11/01/22 Page 10 of 10 PageID #:801




Dated: November 1, 2022                 Respectfully submitted,

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                                      10
